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 8   Attorney for Defendant DOE 75.80.13.105

 9

10                         IN THE UNITED STATES DISTRICT COURT
11
                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12

13
             STRIKE 3 HOLDINGS, LLC,                 Case No.: 17-cv-2315-MMA-AGS
14
                    Plaintiff,
15                                                   NOTICE OF DEFENDANT JOHN
             vs.                                     DOE’S RULE 68 OFFER OF
16
                                                     JUDGMENT
17           JOHN DOE subscriber assigned IP
             address 75.80.13.105,
18
                    Defendant.
19

20

21          PLEASE TAKE NOTICE that JOHN DOE subscriber assigned IP address

22   75.80.13.105 has served on Plaintiff an Offer of Judgment pursuant to FRCP Rule 68. A

23   declaration from JOHN DOE, attached to the Offer, is provided as Exhibit 1.
24
                                                Respectfully Submitted,
25
     Dated: March 21, 2018
26                                                        J. Curtis Edmondson
                                                          Attorney for DOE


     NOTICE OF DOE’S OFFER OF JUDGMENT
                                                 Page 1
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 1                               CERTIFICATE OF SERVICE
 2

 3                I hereby certify that on March 21, 2018, I served a copy of the
                  foregoing Notice of RULE 68 OFFER by CM/ECF and mail on the
 4                following:
                                 Lincoln Bandlow
 5                               Fox Rothschild LLP
                                 10250 Constellation Blvd., Suite 900
 6
                                 Los Angeles, CA 90067
 7

 8   Dated: March 21, 2018

 9                                                     J. Curtis Edmondson

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     NOTICE OF DOE’S OFFER OF JUDGMENT
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